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 1                         UNITED STATES COURT OF APPEALS                             9 206;
 2                                FOR THE NINTH CIRCUIT
                                                                   For The NorthernManana Island!
 3                                                                 BY
     RANDALL T. FENNELL,                         Civil Action No. 09-00 19 ~ o e p U V c ' e ~
 4
                  Plaintiff - Appellee
 5
 6   V.

 7                                               REPRESENTATION
                                                 STATEMENT
 8 MATTHEW T. GREGORY former
   Attorney General GREGOkY BAKA,
 9 Actin Attorney beneral, ANHONTY
   WEL6H Assistant Attorney General,
10 TOM J. SCHWEIGER Assistant
   Attorne General, and bOES 1-20, in
           1"
11 their of icial and individual capacities
12                Defendants - Appellants
13
14        Appellants file this Representation Statement pursuant to FRAP 12(b)and Circuit
15 Rule 3-2(b).
16        PARTIES TO THE ACTION:
17        1.      Randall T. Fennell, Plaintiff - Appellee
18                Represented by:
19                      Mark Hanson, Esq.
                        Second Floor, Macaranas Building
20                      Beach Road Garapan
                        PMB 738 P b Box 10,000
21                      Saipan, MP 96950
                        Telephone: 670 233-8600
22                                  & i
                        Facsimile: ( 0) 33-5262
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         Case 1:09-cv-00019 Document 37 Filed 10/09/09 Page 2 of 2



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         2.    Matthew T. Gre ory, Gregory Baka, Anthony Welch and Tom
2                                 5
               Schweiger, Defen ants - Appellants
3              Represented by:
4                     Braddock Huesman
                      Asst. Attorne General
5                     OFFICE OF ?HE ATTORNEY GENERAL
                      Caller Box 10007 CHRB
6                     Saipan, MP 96950
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7                                 i670] 664-233 1
                      Facsimile: 70) 664-2349
8                     E-mail: braddock. huesman@gmail.com
9                                               Respectfully submitted,
                                                                      /"
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14
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16
17
18                            CERTIFICATE OF SERVICE
19       I hereb certifLthat a true and correct copy of the above
               d
   on Mark B. anson who is the attorney in char e for laintiff, Mr.
20 address is PMB 738, PO Box 10000, Saipan,    Mf   969& (670)
   October, 2009                                      /7
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                                                W o c k Huesm'an #         6'1
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